    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 1 of 23 PageID #:93



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


UNITED STATES OF AMERICA EX REL.
CRYSTAL DERRICK,

                Plaintiff-Relator,                     Case No. 14-cv-04601

                                                       JURY TRIAL DEMANDED
        v.

 ROCHE DIAGNOSTICS CORP.; ROCHE                        SECOND AMENDED
 DIABETES CARE, INC.; ROCHE HOLDINGS                   COMPLAINT
 AG; HUMANA, INC.; AND HUMANA
 PHARMACY, INC.,

                Defendants.



       Plaintiff and Relator Crystal Derrick (“Relator”), by and through her attorneys, brings this

action on behalf of the United States of America pursuant to the qui tam provisions of the Federal

False Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733, against Roche Diagnostics Corp., Roche

Diabetes Care, Inc., Roche Holdings AG (collectively, “Roche”) and Humana, Inc. and Humana

Pharmacy, Inc. (“Humana Pharmacy”) (collectively, “Humana”) (collectively with Roche,

“Defendants”) to recover all damages, penalties, and other remedies provided by the False Claims

Act. In support thereof, Relator alleges as follows:

                                     I. NATURE OF THE CASE

       1.      Relator brings this action to recover for false claims resulting from Defendant

Roche’s illegal cancellation of debt owed to it by the managed healthcare company, Defendant

Humana, with the intent to induce Humana to list Roche’s products on its formulary. Defendants’

unlawful scheme violated the federal Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b),
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 2 of 23 PageID #:94



and caused false or fraudulent claims to be submitted for payment by Government health-care

programs.

       2.       Relator learned during her tenure at Roche that Defendants have violated and

continue to violate the FCA by engaging in an illegal kickback scheme to secure Roche’s access

to Humana’s formularies, and then fraudulently charge Government healthcare programs,

including Medicare, for tainted purchases from those formularies.

       3.       When Relator raised concerns about these practices with corporate management,

Roche terminated her employment, in retaliation for her reporting a fraud.

                                       II. THE PARTIES

A. Plaintiff-Relator

       4.       Relator and Original Source Crystal Derrick is a resident of Dayton, Ohio. She

was a National Account Manager in the Diabetes Division of Roche Diagnostics Corp. from

October 15, 2012 through December 10, 2013. Relator personally witnessed the internal

discussions at Roche that led to its decision to forgive Humana’s debt in order to secure access to

its formularies. Consequently, Relator and Original Source Derrick has direct and independent

knowledge of Defendants’ false claims to the Government, as alleged herein.

B. Defendants

       5.       Defendant Roche Diagnostics Corp. is a corporation organized under the laws of

the State of Indiana, with its principal place of business at 9115 Hague Road, Indianapolis, Indiana

46250. Roche Diagnostics Corp. has five principal business divisions, including Roche Diabetes.

       6.       Defendant Roche Diabetes Care, Inc. is a corporation organized under the laws of

the State of Delaware, with its principal place of business at 9115 Hague Road, Indianapolis,

Indiana 46250. Roche Diagnostics Corp. included Roche’s U.S. commercial diabetes business
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 3 of 23 PageID #:95



until November 2015, when the U.S. commercial diabetes business was transferred to a separate

legal entity, Roche Diabetes Care, Inc. Roche Diabetes Care, Inc. is engaged in the business of

manufacturing and marketing blood glucose test strips.

       7.     Defendant Roche Holding AG (“Roche AG”) is a for-profit healthcare company

located in Basel, Switzerland. The Company’s operating businesses are organized into two

divisions: Pharmaceuticals and Diagnostics. The Pharmaceuticals Division consists of two

business segments: Roche Pharmaceuticals and Chugai. The Diagnostics Division consists of four

business areas: Diabetes Care, Molecular Diagnostics, Professional Diagnostics and Tissue

Diagnostics. Roche AG is the ultimate parent company of Roche Diagnostics Corp. and Roche

Diabetes Care, Inc.

       8.     Defendant Humana, Inc. is a for-profit health insurance company based in

Louisville, Kentucky. Humana enters into contracts with the government to provide Medicare

Advantage and Part D managed healthcare coverage to customers. It also provides other healthcare

services, including operation of a mail-order pharmacy referred to as “Humana Pharmacy.”

Humana, Inc. is one of the largest Medicare Advantage providers in the country, with over three

million members. In 2016, Humana, Inc. received $31,863,000,000 in premiums and services

revenue under individual Medicare Advantage contracts. Medicare accounts for approximately

75% of Humana Inc.’s total premium and service revenue.

       9.     Defendant Humana Pharmacy, Inc. (“Humana Pharmacy”) is a Delaware

Corporation with its principal place of business in Phoenix, Arizona. During relevant periods,

Humana Pharmacy operated a mail-order pharmacy referred to as “RightSource.” Humana

Pharmacy provides mail-order pharmacy services to customers nationwide including, without

limitation, customers enrolled in Humana’s Medicare Advantage program.
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 4 of 23 PageID #:96



                               III. JURISDICTION AND VENUE

       10.     The Court has subject-matter jurisdiction over this action under 31 U.S.C. § 3732(a)

as well as federal-question jurisdiction under 28 U.S.C. § 1331.

       11.     The Court has personal jurisdiction over Defendants under 31 U.S.C. § 3732(a),

because the False Claims Act authorizes nationwide service of process and the Defendants can be

found, reside, or transact business within the District.

       12.     Venue is proper in this District under 31 U.S.C. § 3732(a), because the Defendants

can be found, reside, or transact business within the District, and many of the acts forming the

basis of this action occurred within the District.

       13.     In conformity with 31 U.S.C. § 3730(b)(2), Relator has served a written disclosure

of all material evidence and information in her possession on the United States Attorney General

and the United States Attorney for this District.

       14.     There has been no statutorily relevant public disclosure of the “allegations or

transactions” in this Complaint to Relator’s knowledge. See 31 U.S.C. § 3730(e)(4). Assuming

there had been such a disclosure, Relator is an “original source” under the FCA. Id.

                  IV. STATUTORY AND REGULATORY BACKGROUND

A. The False Claims Act

       15.     The FCA holds liable anyone who “knowingly presents, or causes to be presented,

a false or fraudulent claim for payment or approval” by the United States, 31 U.S.C.

§ 3729(a)(1)(A), or who “knowingly makes, uses, or causes to be made or used, a false record or

statement material to a false or fraudulent claim.” Id. § 3729(a)(1)(B). Those who violate the FCA

are liable for civil penalties of at least $5,500 and up to $11,000 per violation, three times the

damages sustained by the Government, and litigation costs. See id. § 3729(a)(1), (3).
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 5 of 23 PageID #:97



       16.     The FCA provides that a person with knowledge of false or fraudulent claims or

records presented to the United States may bring a private (qui tam) action on behalf of both the

person (the “relator”) and the Government, and may share in any recovery of money by or on

behalf of the United States in the action. A prevailing relator is also entitled to attorneys’ fees,

costs, and expenses. See 31 U.S.C. § 3730(d).

B. The Anti-Kickback Statute

       17.     The Anti-Kickback Statute (“AKS”) makes it a felony to, inter alia, knowingly pay

or accept remuneration to induce anyone “to refer an individual to a person for the furnishing[,] or

arranging for the furnishing[,] of any item or service for which payment may be made in whole or

in part under a Federal health care program.” 42 U.S.C. § 1320a-7b(b)(2)(A). The AKS thus holds

liable both the person paying and the person accepting a kickback.

       18.     Unlawful remuneration includes any payment or other benefit made directly or

indirectly, overtly or covertly, in cash or in kind, for referrals, subject to specific exclusions. 42

U.S.C. § 1395nn(h)(1)(B); 42 C.F.R. § 411.351.

       19.     Unlawful remuneration likewise includes that which is provided: “(A) in return

for referring an individual to a person for the furnishing or arranging for the furnishing of any item

or service for which payment may be made in whole or in part under a Federal health care

program, or (B) in return for purchasing, leasing, ordering, or arranging for or recommending

purchasing, leasing, or ordering any good, facility, service, or item for which payment may be

made in whole or in part under a Federal health care program.” 42 USCS § 1320a-7b.

       20.     Compliance with the AKS is a condition of payment by Federal healthcare

programs, including Medicare, and a claim for reimbursement from such programs for items or

services furnished or arranged in return for a kickback is a false claim under the FCA. See 42
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 6 of 23 PageID #:98



U.S.C. § 1320(a)-7b(g); United States v. Omnicare, Inc., No. 07-cv-05777, 2013 U.S. Dist. LEXIS

102543, *27 (N.D. Ill. July 23, 2013).

       21.       A company’s failure to collect money that is owed to it by an entity from which the

company intends to induce such reimbursement from Federal healthcare programs is considered

remuneration under the AKS. United States ex rel. Fontanive v. Caris Life Sciences, Inc., No. 3:10-

cv-02237-P (N.D. Tex. Oct. 23, 2013); United States ex rel. Ruscher v. Omnicare, No. 4:08-cv-

03396, 2014 U.S. Dist. LEXIS 79885, at *23-25 (S.D. Tex. Jun. 12, 2014).

       22.       A 2010 clarifying amendment of the AKS provides that “a claim [to a Federal

healthcare program] that includes items or services resulting from a violation of [the AKS]

constitutes a false or fraudulent claim for purposes of” the False Claims Act. Patient Protection

and Affordable Care Act, Pub. L. 111–148, § 6402, 124 Stat. 468, 759 (2010), codified at 42 U.S.C.

§ 1320a-7b(g).

       23.       If even one purpose of remuneration is to induce referrals for covered items or

services, such payment of remuneration violates the AKS. In such circumstances, claims for

Federal reimbursement arising from the referrals violate the FCA, even if other, legitimate

purposes may be present.

C. The Medicare Program and Prescription Drug Formulary Coverage

   1. Medicare Part B

       24.       Medicare Part B is a fee-for-service health insurance program that covers certain

doctors’ services, hospital outpatient services, and durable medical equipment (DME) considered

medically necessary to treat a disease or condition. Medicare Part B’s coverage of DME includes

coverage of equipment necessary for glucose monitoring.

       25.       In July, 2013, CMS announced that Medicare Part B would utilize private mail
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 7 of 23 PageID #:99



order pharmacies to deliver medical equipment for diabetes management to beneficiaries.

   2. The Medicare Advantage Program

       26.       Medicare Part C (“Medicare Advantage”) is a federal program that contracts with

private insurance companies called Medicare Advantage Organizations (“MAOs” or “MA

organization”) to provide Medicare Part A and B benefits to Medicare beneficiaries. The plans

must at a minimum cover all services covered by Medicare Part A and B, with the exception of

hospice care. The federal government compensates the private insurance companies for their

delivery of these services at a capitated rate.

       27.       Every year, Medicare Advantage Organizations submit bids to the Center for

Medicare Services, offering to provide their services for a specified amount per member per month

(PMPM). The bids report the costs of providing benefits for the previous calendar year; actual

allowed per member per month (PMPM) cost, unit cost, and utilization by service type (for

example, inpatient, outpatient, etc.); cost sharing; and net costs. MAOs must also report actual

enrollment and revenue, as well as expenses for claims, administration, and gain/loss margin.

       28.       CMS regulations state that “in order to qualify as an MA organization, enroll

beneficiaries in any MA plans it offers, and be paid on behalf of Medicare beneficiaries enrolled

in those plans, an MA organization must enter into a contract with CMS.” 42 C.F.R. § 422.503 (a).

       29.       “The contract between the MA organization and CMS must contain the following

provisions: . . . Requirements of other laws and regulations. The MA organization agrees to comply

with—(1) Federal laws and regulations designed to prevent or ameliorate fraud, waste, and abuse,

including, but not limited to, applicable provisions of Federal criminal law, the False Claims Act

(31 U.S.C. 3729 et. seq.), and the Anti-Kickback statute (section 1128B(b) of the Act).” 42 C.F.R.

§ 422.504(h).”
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 8 of 23 PageID #:100



       30.     Chapter 11 of the Medicare Managed Care Manual states that “MA organizations

are obligated to comply with other laws, specifically Federal laws and regulations designed to

prevent or ameliorate fraud, waste, and abuse including, but not limited to: Applicable provisions

of Federal criminal law; The False Claims Act (31 U.S.C. 3729 et seq.); The Anti-kickback statute

(Section 1128B(b) of the Act); and HIPAA administrative simplification rules at 45 CFR Part 160,

162, and 164.”)

       31.     “Compliance with the AKS is clearly a condition of payment under Parts C and D

of Medicare.” U.S. ex rel. Wilkins v. United Health Grp., Inc., 659 F.3d 295, 313 (3d Cir. 2011).

       32.     Based upon the bid, CMS agrees to pay the MAOs a monthly capitated payment

for each member in the plan. Adjustments are made based upon the “risk profile” of the members.

MAOs are paid more for members who are more costly.

       33.     MAOs submit “encounter data” to CMS that reflects the services provided to their

members. MAOs with over 100,000 members are required to submit this data on at least a weekly

basis. Large MAOs often submit the data more frequently than that due to the size of the data. The

encounter data is an electronic record that contains detailed information for each medical service

and item provided to an enrollee, and includes approximately 200 data elements. These elements

include information on the patients, providers, and payers of services and items, as well as the

dates of service and procedure codes. One element—“CLM02”—reflects the amount paid for

items or services.

       34.     Each month MAOs are required to provide CMS their enrollment and payment data

and request payment. They submit a certification states that “the MA Organization hereby requests

payment under the contract, and in doing so, makes the following certifications concerning CMS

payments to the MA Organization. . . . Based on best knowledge, information, and belief, all
    Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 9 of 23 PageID #:101



information submitted to CMS in this report is accurate, complete, and truthful.”

       35.     “All contracts or written arrangements between MA organizations and first tier,

downstream, and related entities must contain the following: . . . (iii) A provision requiring that

any services or other activity performed by a first tier, downstream, and related entity in

accordance with a contract are consistent and comply with the MA organization’s contractual

obligations.” 42 C.F.R. § 422.504 (i).

       36.     A “first tier means any party that enters into a written arrangement, acceptable to

CMS, with an MA organization or applicant to provide administrative services or health care

services for a Medicare eligible individual under the MA program.” 42 C.F.R. § 422.2.

       37.     Part D of the Medicare Program offers prescription drug coverage to beneficiaries

through use of private managed health companies referred to as “Part D Sponsors.” Part D

Sponsors administer the program through the creation of drug formularies—a preferred list of

drugs that may be reimbursed under the program. Part D sponsors reduce the cost of the program

by negotiating rebates from drug manufacturers, which are then passed on to the Government and

program beneficiaries. Part D sponsors submit a Prescription Drug Event (“PDE”) to CMS, which

is a claim for payment for the sale of drugs under the plan.

       38.     Many insurance companies combine their Medicare Advantage plans with Part D

plans to offer Medicare Advantage Prescription Drug plans.

   3. Other Government-Funded Health Programs

       39.     In addition to Medicare, the federal government reimburses a portion of the cost of

durable medical equipment and prescription drugs under several other federal healthcare programs,

including, without limitation, programs administered by the Department of Defense (the “DOD”),
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 10 of 23 PageID #:102



the Department of Veteran’s Affairs (the “VA”), and the Office of Personnel Management (the

“OPM”).

       40.     The DOD administers TRICARE (formerly CHAMPUS), a health care program

covering individuals and dependents affiliated with the armed forces. The VA administers its own

health program, along with CHAMPVA (a shared cost program), covering families of veterans.

OPM administers the Federal Employee Health Benefit Program, a health insurance program

covering federal employees, retirees, and survivors.

       41.     Reimbursement for medical supplies under these programs may occur either

through direct purchase of drugs later administered at government facilities or through coverage

of medical supplies administered by other providers to individuals eligible for benefits under these

programs.

   4. Drug Formularies

       42.     Drug formularies are utilized by many different types of entities, including

managed care organizations, pharmacy benefit management companies, State Medicaid plans,

hospitals and long-term care facilities. Drug formularies specify which drugs are stocked, which

ones are covered, and what the patients’ cost-sharing obligations are.

       43.     Formularies play a critical role in controlling drug program costs because they

incentivize patients to make efficient and economical choices when medically suitable alternatives

exist. If a drug is on formulary, it will necessarily be covered when prescribed, subject to potential

restrictions designed to address any individual patient needs.

       44.     Medicare requires that certain medications and durable medical equipment (such

as diabetic test strips, nebulizers and wheelchairs) be covered under Part B. Medicare Part D plans

usually do not cover drugs that are covered under Medicare Part B. Medicare Part B will typically
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 11 of 23 PageID #:103



cover drugs that are administered at a hospital or doctor’s office.

       45.     Managed Care plans such as Humana, Inc. commonly offer a limited drug

formulary, obtaining significant discounts from one manufacturer by not offering a competing

manufacturer’s drugs or by offering the competing manufacturer’s drugs with a high copayment.

       46.     Managed Care plans such as Humana, Inc. commonly require that drugs taken on

an on-going basis be purchased from mail order pharmacies, which can offer significant discounts

through large volume purchasing, while at the same time eliminating the added overhead costs of

retail pharmacies.

                     V. DEFENDANTS’ KICKBACKS AND FALSE CLAIMS

A. Roche’s Illegal Kickback Scheme Resulted in False Claims Paid By the Government for
   Roche’s Products

       47.     Relator discovered during her tenure at the Company that Roche had paid Humana

for access to its Medicare Advantage formularies when it decided not to recover rebate

overpayments it had learned Humana owed it under certain contracts to deliver Roche products to

its members.

       48.     Humana provides health insurance plans nationwide, including Medicare

Advantage and Part D insurance. Humana’s three books of business consist of Medicare,

Commercial, and “RightSource,” a mail-order pharmacy, which primarily disbursed to members

covered by government insurance programs. Roche’s products were included in all three of

Humana’s books of business.

       49.     Humana’s formularies included Roche Diabetes’ Accu-Chek product line, which

includes: (i) the Accu-Chek Spirit Insulin Pump; (ii) Accu-Chek test strips used to feed blood

samples into a glucose testing meter; (iii) Accu-Chek meters to read the test strips; and (iv) lancets

to make small punctures in the skin to draw blood samples. Roche’s glucose strips, meters, and
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 12 of 23 PageID #:104



lancets are collectively used by diabetics to manage their blood sugar.

       50.     On March 6, 2013, Humana notified Roche that its Medical Benefit Rebate

Agreement for Humana’s RightSource contract would be terminated in 90 days. Roche understood

that, following such termination, Roche’s products would no longer appear on Humana’s

RightSource formularies. This development was viewed within Roche as a significant blow to the

company, particularly given that Roche had recently experienced other financial setbacks.

       51.     In May 2013, soon after Relator took over the Humana account from Roche

National Accounts Manager Ernie Pasqualone, Relator discovered that Humana had not complied

with the terms of its agreement with Roche. Under the contract, Humana was required to charge

its members copays for non-formulary diagnostic products that were at least $25 higher than their

copays for Roche products that were on the formulary. Therefore, Roche had been paying Humana

rebates that were not owed under the terms of Roche’s contract with Humana.

       52.     Relator arranged a face-to-face meeting in Pittsburg, PA with Bethany Stein, who

was responsible for Medicare Rebate Contracting Strategy at Humana, to discuss the overpayment

on June 6, 2013. Upon being advised of the overpayment, Ms. Stein did not dispute its accuracy,

but replied that such overpayments had been found in connection with several other similar

contracts. Ms. Stein and Relator agreed at the conclusion of the meeting that it would be

appropriate for Roche to quantify the amount of the overpayment.

       53.     Ms. Stein also indicated that Humana had been discussing within Roche whether

the company’s products should be removed from books of business other than RightSource as

well. Relator understood that Humana was authorized to remove Roche’s products from its

formularies with just 90 days’ notice.

       54.     On June 20, 2014, Relator spoke by telephone with Mr. Pasqualone and Ms. Stein
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 13 of 23 PageID #:105



regarding the rebate calculations. Ms. Stein stated that due to the potentially large size of the

reimbursement, Humana had decided to use an auditor to perform a more formal calculation.

       55.     Soon after the June 6 meeting, Roche’s Finance Department determined that it

would quantify the amount of the overpayment to Humana. Relator was advised at that time that

the total amount of the overpayment was $45 million.

       56.     Roche immediately recognized an opportunity to be placed back on Humana’s

formularies. General Manager Mark Gibley directed Vice-President of Finance David Barnes to

prioritize Roche’s continued relationship with Humana and do whatever it would take to preserve

the relationship. Mr. Barnes, in turn, instructed Relator to emphasize Roche’s continuation of the

Humana contracts in its anticipated negotiations with Humana concerning the overpayment. Mr.

Barnes also instructed Relator to report directly to himself about the negotiations, and not to speak

with anyone else about them.

       57.     Despite Humana’s initial stated preference that the parties engage a formal auditor,

both parties subsequently agreed not to include an auditor in the negotiations. Mr. Dostal stated in

a telephone call that Humana would not go down that route.

       58.     Internally, Roche prepared an analysis quantifying the value of the Accu-Chek

product line’s placement on Humana’s Medicare Advantage and RightSource formularies.

Roche’s analysis was formalized in an Excel document.

       59.     On July 8, 2013, Kendra Moran, a member Roche’s contract support team, sent

Relator an email stating, “For your call with Humana today, you can present them with the amount

of $27.6m which includes $2.4m of interest (5% compounded annually.)” Roche requested this

amount from Humana because Roche did not want to jeopardize their relationship by presenting

the larger $45 million number Roche had previously calculated. Relator noted in an email that
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 14 of 23 PageID #:106



“Humana requested the amount . . . for an internal meeting with William Flemming [sic].” At the

time, William Fleming was Segment Vice President for Humana Inc. and President of Humana

Pharmacy Solutions.

         60.   During the call with Ms. Stein and Mr. Pasqualone, Relator communicated the

$27.6 million figure to Ms. Stein. In response, Ms. Stein asked Relator and Mr. Pasqualone

whether there was room for negotiation of the amount to be repaid by Humana. Ms. Stein added

that she would prefer to have her company’s legal team attend their next phone call regarding the

issue.

         61.   On July 9, Relator attended a conference call with Kim Ober and Holly McMasters

to discuss the foregoing developments with Humana. Ms. Ober stated that she would conduct an

analysis on the financial implications of the breach on Roche.

         62.   On July 10, 2013, Ms. Stein emailed Relator and Mr. Pasqualone stating that Ms.

Stein “[j]ust had a mtg [sic] with senior leadership. . . . They would rather it be a business

conversation and not involve legal for this first meeting. Can we do that?” She further stated that

she would have Keith Dostal, Vice President of Supply Chain Strategies at Humana, and Mr.

Fleming, among other Humana executives, attend the call on Friday, July 12, 2013.

         63.   On July 11, 2013, Mr. Barnes sent Ms. Stein an email attaching a letter formally

requesting repayment of the rebates. Upon receipt of the request, Ms. Stein sent Relator an email

saying, “This is pretty harsh. . . . Not reflective of our conversation today. Should I still expect

what we discussed earlier?”

         64.   During the July 12, 2013 call, Mr. Dostal stated that he would authorize payment

of no more than $20 million. Over the course of the next several months, Roche and Humana

negotiated a reduced sum to be returned in exchange for access to Humana’s RightSource book of
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 15 of 23 PageID #:107



business, as well as continued access to the Medicare and Commercial formularies. Humana’s

return of Roche’s rebate overpayments, and Roche’s renewed access to Humana’s formularies

were expressly negotiated part of the same bargain.

       65.     Among the members of the Roche team participating in the negotiations were Mr.

Barnes and Relator. The Humana team included Mr. Dostal, Ms. Stein, and Todd Hanley, Strategic

Consultant—Trade Relations. Roche’s team largely operated out of Indianapolis, Indiana.

       66.     These negotiations were held through e-mail communications and conference calls

among Mr. Barnes, Mr. Dostal and other Humana personnel during this period, including Ms. Stein

and Mr. Hanley.

       67.     Relator Derrick repeatedly expressed concerns that the resulting transaction would

violate the AKS. Relator had helped create an instructive AKS video for past employment, so she

was personally aware of the illegality of the negotiations.

       68.     In addition to raising concerns within the negotiation group, Relator discussed her

concerns about the negotiations with Dan Majestic, Director of Channel Sales, and Lisa Rich-

Milan, National Sales Director, Channel/Managed Markets. Upon information and belief, Mr.

Majestic informed Mr. Barnes that Relator had raised concerns about the negotiations with him.

       69.     During the first week of December 2013, Roche signed a contract to regain access

to Humana’s formularies. Unlike Roche’s prior contracts with Humana, the new contract excluded

competing brand products from Humana’s formularies. This formulary adjustment resulted in a

substantially increased market share for Roche’s products under the new Humana contract.

       70.     That same week, Humana paid Roche their reduced debt as agreed upon in the

preceding negotiations. The final sum did not exceed $11 million. Further, Roche’s new contract

with Humana provided that, if the performance under the contract was not satisfactory, Roche
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 16 of 23 PageID #:108



could recover the money Humana had owed it but that Roche had refrained from collecting.

       71.     Roche’s reduction of Humana’s obligation to repay Roche in exchange for new and

continued access to Humana’s formularies violates the AKS’s prohibition against providing and

accepting remuneration for referral of medical items and services paid for by federal healthcare

programs.

B. Humana Falsely Certified Compliance in Its Medicare Bids and Monthly Submissions
   to CMS

       72.     In 2013 and 2014, Humana bid on the Medicare Advantage program and

participated in the program. In order to participate in the Medicare Advantage program, Humana

would be required to sign a contract with CMS agreeing to “comply with— (1) Federal laws and

regulations designed to prevent or ameliorate fraud, waste, and abuse, including, but not limited

to, applicable provisions of Federal criminal law, the False Claims Act (31 U.S.C. 3729 et. seq.),

and the anti-kickback statute (section 1128B(b) of the Act).” 42 C.F.R. § 422.504(h).”

       73.     In exchange for the debt forgiveness from Roche, Humana agreed to place Roche

products on its RightSource and Medicare Advantage formularies. Humana provided Roche

products with favorable treatment such that Humana’s Medicare Advantage members would

purchase Roche products.

       74.     In order to receive Government payment, Humana submitted encounter data and

monthly reports and certifications to the Government. The sale of Roche products to Humana’s

Medicare Advantage members would be reflected in Humana’s submission of encounter data and

monthly reports to CMS.

       75.     In the monthly submissions, Humana would be required to certify that “all

information submitted to CMS in this report is accurate, complete, and truthful.”
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 17 of 23 PageID #:109



       76.      By making the regular submissions that were required in order for Humana to

receive CMS payments, Humana impliedly certified that it was complying with the contract

requirements, including compliance with the FCA and the AKS.

       77.     As a result of making the submissions to the Government, Humana was paid a

capitated rate for its members.

C. Roche Retaliated Against Relator for Raising Concerns About Roche’s Unlawful
   Conduct

       78.     Relator’s discovery of overpayments to Humana that Roche had long neglected was

widely praised by senior employees within the company. Mr. Gibley suggested to Relator that she

could expect to receive an end of the year recognition award for her work.

       79.     However, Relator eventually became concerned about Roche’s planned response

to her discovery of the overpayment. In particular, Relator repeatedly raised concerns with her

contract support team, Kim Ober and Ms. Moran, about the lawfulness of Roche’s seeking

recovery of only a portion of Humana’s debt to Roche in exchange for a new, two-year agreement.

Ultimately, Relator was told that the decision had been made by a member of senior leadership,

Mr. Gibley.

       80.     In October 2013, Relator participated in a call with a client that had required her to

provide the client with certain pricing information. Relator had on earlier occasions told her

manager, Dan Majestic, that the prices he had suggested for clients were not competitive.

       81.     Repeatedly over the course of approximately one week, Relator asked Mr. Majestic

to provide her with competitive pricing for the client’s contract. Mr. Majestic finally sent Relator

an email attaching the information to be forwarded to the client only minutes in advance of the

call. Nothing in Mr. Majestic’s email stated that the accompanying information was confidential

or had not been approved internally.
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 18 of 23 PageID #:110



       82.     Relator forwarded the pricing information to the client immediately, so that the

client would receive it in advance of the call. Following receipt of the pricing information, the

client expressed disapproval, explaining that the prices were not competitive.

       83.     Over the next several weeks, Mr. Majestic repeatedly demanded that Relator

identify the information she had forwarded to the client. Relator responded on several occasions

that she could not locate the email that had attached the information, due to a computer

malfunction, but offered to ask the client to send her a copy of the email. Relator also sent Mr.

Majestic an email reflecting the same response.

       84.     In mid-November 2013, Mr. Majestic advised Relator that the prices he had sent

her in advance of the call had not been approved by the Company for transmission to the client.

Relator was unable at that time to understand why Mr. Majestic would send her prices a few

minutes in advance of a client call when they had not been approved for transmission.

       85.     In early December 2013, Mr. Majestic asked to join one of Relator’s upcoming

customer meetings that was to take place on December 8 in Louisville, Kentucky. The meeting

would be the second of its kind that he would attend within a span of two months. Because Mr.

Majestic’s past practice had been to attend only one or two customer meetings per year, his

attendance of two such meetings within this shorter interval was highly unusual.

       86.     During the December 8 customer meeting, the customer, who happened to be a

representative of Humana, highly complimented Relator for her diligent work on the customer’s

contract.

       87.     After the customer meeting, Mr. Majestic told Relator that she was to meet with a

Roche human resources representative, Ms. Teresa Stroble, at a hotel near the Louisville airport.

Mr. Majestic provided Relator with a handwritten note indicating the address of the hotel.
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 19 of 23 PageID #:111



       88.     At the meeting, Ms. Stroble advised Relator that she was to be terminated from her

employment with Roche, resulting from her role in the events surrounding the October 2013 client

call. In response to Relator’s question whether there was any other reason for her termination, Ms.

Stroble stated that Relator’s role in the events surrounding the October 2013 client call was the

sole reason.

       89.     Relator advised Ms. Stroble that she had sent Mr. Majestic an email offering to ask

the client to forward her Relator’s prior email, to which she had attached the pricing information

the client had disapproved of. Ms. Stroble responded she had not been made aware of this email

and asked Relator to leave the room while she spoke with Mr. Majestic.

       90.     Upon Relator’s return, Ms. Stroble advised that Relator’s offer to retrieve the email

from the client did not change the Company’s position and that Relator would be terminated

effective December 10, 2013.

       91.     Relator did not receive a severance or compensation for her unused vacation time

upon her termination from Roche.

                                   VI. CAUSES OF ACTION

                                          COUNT I
                                   Presenting False Claims
                         (False Claims Act, 31 U.S.C. § 3729(a)(1)(A))

       92.     Relator realleges and incorporates by reference the allegations in the previous

paragraphs of this Second Amended Complaint.

       93.     This is a claim for treble damages and penalties under the False Claims Act, 31

U.S.C. §§ 3729-3732.

       94.     By virtue of the acts described above, Defendants knowingly submitted, caused to

be submitted and continue to submit and to cause to be submitted false or fraudulent claims for
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 20 of 23 PageID #:112



payment by the United States, by knowingly or recklessly submitting claims to Federal healthcare

programs services tainted by Defendants’ payment and receipt of remuneration in exchange for

access to Humana’s formularies, in violation of the Anti-Kickback Statute, 42 U.S.C. § 1320a-

7b(b).

         95.     The United States, unaware of Defendants’ kickbacks, paid false claims when it

paid for Roche’s products on Humana’s formularies.

         96.     The falsity of the claims presented by Defendants was material, as the falsity

concealed material violations of the FCA and the AKS that would have justified denial of the

claims in their entirety. Had Federal healthcare officials known of Defendants’ kickbacks, the

Government would not have paid Defendants for the goods and services furnished as a result of

the kickbacks.

         97.      Defendants’ knowing presentation of false claims for payment by the United States

has violated 31 U.S.C. § 3729(a)(1)(A) and has damaged, and continues to damage, the United

States in an amount to be determined at trial.

                                        COUNT II
               Making False Statements Material to a False or Fraudulent Claim
                         (False Claims Act, 31 U.S.C. §3729(a)(1)(B))

         98.     Relator re-alleges and incorporates by reference the allegations in the previous

paragraphs of this Complaint.

         99.     This is a claim for treble damages and penalties under the False Claims Act, 31

U.S.C. §§ 3729-3732.

         100.    By virtue of the acts described above, Defendants knowingly submitted, caused to

be submitted and continue to submit and to cause to be submitted false records and statements

material to false or fraudulent claims for payment by the United States.
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 21 of 23 PageID #:113



        101.    Defendants’ false statements material to false or fraudulent claims for payment by

the United States have violated 31 U.S.C. § 3729(a)(1)(B) and have thereby damaged and continue

to damage the United States Government by its actions in an amount to be determined at trial.

                                           COUNT III
                            Conspiracy to Violate the False Claims Act
                                   31 U.S.C. § 3729 (a)(1)(C)

        102.    Relator realleges and reincorporates all the preceding paragraphs of the Complaint

as if fully set forth herein.

        103.    By virtue of the acts described above, Defendants violated the False Claims Act by

conspiring to knowingly and willfully conspiring to cause the submission of false claims to obtain

payments from Medicaid and Medicare.

        104.    It was a part of this conspiracy that Defendants knowingly and willfully submitted

false claims to Medicaid and Medicare for ineligible medical services.

        105.    As a result of these false claims, the United States has been damaged and continues

to be damaged in an amount to be determined at trial.

                                             COUNT IV
                                  Retaliation for Protected Conduct
                                (False Claims Act, 31 U.S.C. § 3730(h))

        106.    Relator realleges and reincorporates all the preceding paragraphs of the Complaint

as if fully set forth herein.

        107.    Roche’s harassment and ultimate termination of Relator’s employment was made

in retaliation for her questioning of the lawfulness of Defendants’ conduct involving its efforts to

gain access to Humana’s formularies. Thus, Defendants’ harassment and termination of Relator

violate 31 U.S.C.A. § 3730(h).

        108.    Relator has been damaged by Defendants’ unlawful actions as described above.
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 22 of 23 PageID #:114



Hence, under § 3730(h), Relator is entitled to reinstatement, twice the amount of back pay she has

failed to receive as the result of her termination, interest, emotional distress damages, attorney’s

fees, litigation costs, and other special damages.

                                   VII. PRAYER FOR RELIEF

        WHEREFORE, Relator prays for judgment against Defendants as follows:

        A.       An order that Defendants cease and desist from violating the Anti-Kickback

    Statute, 42 U.S.C. § 1320a-7b(b);

        B.       Judgment against Defendants in an amount equal to three times the damages the

    United States has sustained because of Defendants’ fraud, plus a civil penalty of $11,000 for

    each claim submitted in violation of the False Claims Act, under 31 U.S.C. § 3729(a);

        C.       An award to Relator of the maximum share of money recovered from Defendants

    by, or on behalf of, the United States, under 31 U.S.C. § 3730(d)(2);

        D.       An award to Relator of “reasonable expenses which the court finds to have been

    necessarily incurred, plus reasonable attorneys’ fees and costs,” under 31 U.S.C. § 3730(d)(1);

        E.       An award to Relator of reinstatement, twice the amount of back pay she has failed

 to receive as the result of her termination, interest, emotional distress damages, attorney’s fees,

 litigation costs, and other special damages; and

        F.       Such other relief as the Court deems just and proper.

                              VIII. DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands a

trial by jury.
   Case: 1:14-cv-04601 Document #: 29 Filed: 06/30/17 Page 23 of 23 PageID #:115



Filed this 30th day of June                Respectfully submitted,

                                           /s/ Jamie Franklin
                                           Jamie Franklin

                                           Jamie S. Franklin, ARDC No. 6242016
                                           THE FRANKLIN LAW FIRM LLC
                                           53 W. Jackson Blvd., Suite 803
                                           Chicago, Illinois 60604
                                           Tel: (312) 662-1008
                                           Fax: (312) 662-1015
                                           jsf@thefranklinlawfirm.com

                                           Ross B. Brooks
                                           Inayat Hemani
                                           SANFORD HEISLER SHARP, LLP
                                           1350 Avenue of the Americas, Suite 3100
                                           New York, New York 10019
                                           Tel: (646) 402-5650
                                           Fax: (646) 402-5651
                                           rbrooks@sanfordheisler.com
                                           ihemani@sanfordheisler.com

                                           Kevin H. Sharp
                                           SANFORD HEISLER SHARP, LLP
                                           611 Commerce Street, Suite 3100
                                           Nashville, Tennessee 37203
                                           Tel: (615) 434-7001
                                           Fax: (615) 434-7020
                                           ksharp@sanfordheisler.com

                                           Counsel for Plaintiff-Relator
